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6
7                         UNITED STATES DISTRICT COURT
8                        NORTHERN DISTRICT OF CALIFORNIA
9    SCOTT JOHNSON                                      Case: 5:21-cv-03835-EJD
10             Plaintiff,                               Plaintiff’s Notice of Voluntary
        v.
11                                                      Dismissal With Prejudice
     VINTNERS DISTRIBUTORS,
12
     INC., a California Corporation                     Fed. R. Civ. P. 41(a)(1)(A)(i)
13
              Defendants.
14
15           PLEASE TAKE NOTICE that Plaintiff Scott Johnson, hereby
16   voluntarily dismisses the above captioned action with prejudice pursuant to
17   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
18           Defendant Vintners Distributors, Inc., a California Corporation has
19   neither answered Plaintiff’s Complaint, nor filed a motion for summary
20   judgment. Accordingly, this matter may be dismissed without an Order of the
21   Court.
22   Dated: September 13, 2021              CENTER FOR DISABILITY ACCESS
23
24
                                            By: /s/ Amanda Seabock
                                                    Amanda Seabock
25
                                                  Attorneys for Plaintiff
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                   Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                Federal Rule of Civil Procedure 41(a)(1)(A)(i)
